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Attorney for Debtor(s)

                    IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF IDAHO


IN RE:                                     )
                                           )
JASON S. MONROE,                          )
                                           )                CASE NO. 19-00561-NGH
                                           )                Chapter 13
Debtor(s)                                  )
__________________________________________ )

            OBJECTION TO CHAPTER 13 TRUSTEE’S MOTION TO DISMISS
                               (Docket No. 88)

       COMES NOW, Jon R. Wilson of the law firm, Wilson Law Offices, P.C., attorney for the

Debtor and hereby object to the Chapter 13 Trustee’s Motion to Dismiss (Docket No. 88) as

follows:

       1. Debtor’s plan payments are current.

       2. Debtor’s tax preparer has not been available to prepare his 2021 taxes. Unless
          Debtor’s tax preparer is available to prepare these tax returns within the next 30 days,
          during that time frame, Debtor will retain another person to prepare said tax returns,
          have them filed, and provide signed and dated copies to the Trustee.

       3. Debtor is also currently proceeding to sell his residence and complete his confirmed
          plan. Debtor is currently in his 37th of his 60-month plan. Debtor plans to file a
          Motion to Modify his plan to provide for completing it early. Debtor and his counsel
          are in the process of preparing the necessary information so that he can file such
          motion.




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       THEREFORE, based on the foregoing, Debtor requests an additional 30 days to comply

with the Tax Turnover Order and once achieved the Trustee can withdraw her Motion to

Dismiss.


       Dated this 8th day of June, 2022.

                                             WILSON LAW OFFICES, P.C.

                                             /s/   Jon R. Wilson
                                             JON R. WILSON
                                             Debtor’s counsel

                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 8th day of June, 2022, I electronically filed this
Objection to Trustee’s Motion to Dismiss using the CM/ECF system and sent true and correct
copies to the following parties:

US Trustee
ustp.region18.bs.ecf@usdoj.gov

Kathleen A. McCallister on behalf of Trustee Kathleen A. McCallister
kam@kam13trustee.com, kmccallister13@ecf.epiqsystems.com

William L Bishop on behalf of Creditor Fay Servicing, LLC as servicer for Wilmington Trust,
National Association, not in its individual capacity, but solely as trustee for MFRA Trust 2014-2
BillB@w-legal.com, MarcelaN@w-legal.com;BNC@w-legal.com;KevinT@w-legal.com

William L Bishop on behalf of Creditor Wilmington Trust, National Association, not in its
individual capacity, but solely as trustee for MFRA Trust 2014-2
BillB@w-legal.com, MarcelaN@w-legal.com;BNC@w-legal.com;KevinT@w-legal.com

Michael H Hekman on behalf of Creditor Fay Servicing, LLC as servicer for Wilmington Trust,
National Association, not in its individual capacity, but solely as trustee for MFRA Trust 2014-2
michaelh@w-legal.com, bncmail@w-legal.com;dlhanninen@garlington.com

Jeffrey Philip Kaufman on behalf of Trustee Kathleen A. McCallister
jpk@kam13trustee.com


Ronald Robert Shepherd on behalf of Creditor David Crosby
ron@rshepherdlaw.com, brenda@rshepherdlaw.com




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Louis V. Spiker on behalf of Creditor Fay Servicing LLC
lvs@johnsonmaylaw.com, jfb@johnsonmaylaw.com

David M Swartley on behalf of Creditor Wilmington Trust, National Association, not in its
individual capacity, but solely as trustee for MFRA Trust 2014-2
bknotice@mccarthyholthus.com, dswartley@ecf.courtdrive.com

Jason S. Monroe, Debtor (private email)

       Dated this 8th day of June, 2022.

                                            WILSON LAW OFFICES, P.C.

                                            /s/   Jon R. Wilson
                                            JON R. WILSON
                                            Debtors’ counsel




OBJECTION TO TRUSTEE’S MOTIONTO DISMISS (Docket No. 88) - 3
